Case:17-03283-LTS Doc#:19856 Filed:01/21/22 Entered:01/21/22 11:18:26                     Desc: Main
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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
  ----------------------------------------------------------x
  In re:                                                             PROMESA
                                                                     Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,

          as representative of                                       No. 17 BK 3283-LTS

  THE COMMONWEALTH OF PUERTO RICO,                                   (Jointly Administered)
  et al.,

                             Debtors.1
  ----------------------------------------------------------x

                    PRO SE NOTICES OF PARTICIPATION RECEIVED BY THE COURT
             (DISCOVERY FOR CONFIRMATION OF COMMONWEALTH PLAN OF ADJUSTMENT)

                   The attached additional pro se Notices of Intent to Participate in Discovery

  Concerning Confirmation of Commonwealth Plan of Adjustment have been received by the Court

  on January 20, 2022 for filing in the above-captioned cases pursuant to the Order Establishing

  Preliminary Confirmation Submission and Discovery Procedures and Directing Notice to

  Creditors of the Same (Docket Entry No. 17431 in Case No. 17-3283).




  1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
          number and the last four (4) digits of each Debtor’s federal tax identification number, as
          applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy
          Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
          Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS)
          (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
          Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal
          Tax ID: 3808); (iv) Employees Retirement System of the Government of the
          Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last
          Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
          (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and
          (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-
          LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
          Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:19856 Filed:01/21/22 Entered:01/21/22 11:18:26 Desc: Main
                                     Document Page 2 of 2
  Pro Se Notices of Participation Received by the Court (Discovery – Confirmation Plan)
  January 21, 2022



            1. Nilda L. Colon Negron

  Dated: January 21, 2022




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